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MINUTE ENTRY
BROWN, J.
MARCH 11, 2020
JS10 – 1:00
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 RODNEY GRANT                                                   CIVIL ACTION
 VERSUS                                                         NUMBER: 17-2797
 MARLIN GUSMAN, et al.                                          SECTION: G (3)



                                     MOTION HEARING

Court Reporter: Mary Thompson
Case Manager: Shaveka M. Joshua
Law Clerk: Jacob Leon

APPEARANCES:
William B. Most of Law Office of William Most, for the Plaintiff;
Phyllis E. Glazer of the Louisiana Department of Justice, for the Defendant.

Case called at 10:44 a.m.

(#123) Motion for Sanctions, or in the Alternative, to Compel Preservation and Production
of Documents filed by plaintiff.
Argument.
Matter taken under advisement.

(#129) Motion for Summary Judgment Against Defendant James LeBlanc filed by plaintiff.
Argument.
Matter taken under advisement.

(#143) Motion for Summary Judgment filed by defendants James LeBlanc and Warden
Timothy Hooper.
Argument.
Matter taken under advisement.

Hearing concluded 11:44 a.m.
